                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                     DIVISION

IMPLICIT, LLC,                                       §
                                                     §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §
                                                     §   CIVIL ACTION NO. 6:17-CV-00182-JRG
PALO ALTO NETWORKS, INC.,                            §
                                                     §
                Defendant.                           §


                                               ORDER

       Before the Court is Plaintiff Implicit, LLC’s (“Implicit”) Motion to Strike Portions of Russ

Report as Exceeding Scope of Palo Alto Networks, Inc’s (“PAN”) Invalidity Contentions (the

“Motion”). (Dkt. No. 180.) Generally, Implicit requests the Court exclude paragraphs 839–844,

845–849, 850–852, 853–856, 857–859, and 877–880 of Dr. Samuel Russ’ Amended Expert Report

(the “Russ Report”) for presenting invalidity defenses under 35 U.S.C § 112 that do not appear in

PAN’s invalidity contentions. (Id. at 1, 3.)

       Implicit argues that PAN’s invalidity contentions do not give fair notice of numerous

invalidity theories set forth in the Russ Report even though Implicit’s corresponding infringement

theories appear in Implicit’s September 1, 2017 infringement contentions. (Id. at 1–2 (identifying

theories associated with data compression/decompression, encryption, QoS, using DPI or App-ID

to inspect the application layer data, and analyzing traffic and determining whether to send it for

sandboxing).    Further, Implicit contends that PAN’s invalidity contentions regarding the

“process[ing] . . . packets” limitations provide no examples of how “handling of a packet” does

not (under PAN’s definition) convert packets from one format to another, but the Russ Report


                                                 1
provides three such examples (e.g., decompressing data, using DPI or App-ID to inspect the

application layer of a packet to block or allow traffic, and analyzing traffic and determining

whether to send it for sandboxing). (Id. at 2–3.) Implicit also argues that PAN’s invalidity

contentions regarding the “execute/perform a transmission protocol” limitations merely offer

conclusory indefiniteness, enablement, and written description statements, while the Russ Report

asserts that “observing TCP traffic and re-ordering TCP packets for analysis” lack written

description support. (Id. at 3.)

       PAN responds that the Russ Report’s discussion regarding written description tracks the

scope of Dr. Kevin C. Almeroth’s (Implicit’s expert) infringement report. (Dkt. No. 209 at 2.) As

such, PAN argues that the challenged portions of the Russ Report rise and fall with PAN’s motion

to strike portions of Dr. Almeroth’s infringement report (Dkt. No. 202) and/or correspond to Dr.

Almeroth’s broad interpretation of claim language. (Dkt. No. 209 at 6–7.) Additionally, PAN

argues that any differences between its invalidity contentions and the Russ Report are directed to

the substantive factual dispute between the parties and thus do not justify striking the challenged

portions of the Russ Report. (Dkt. No. 238 at 1–3.)

       In view of the parties’ briefing, the Court finds that although the differences between

PAN’s invalidity contentions and the Russ Report reflect differences in scope, PAN’s invalidity

contentions provide sufficient notice of the invalidity theories set forth in the Russ Report. Further,

the challenged invalidity theories in the Russ Report correspond to several infringement theories

set forth in Dr. Almeroth’s infringement report that PAN challenged as lacking sufficient notice in

Implicit’s infringement contentions but were upheld by the Court. (Dkt. No. 286.) Accordingly,

the Court GRANTS-IN-PART the Motion as to portions of the Russ Report discussing data




                                                  2
compression/decompression and DENIES-IN-PART the Motion as to other challenged portions

of the Russ Report.



      So Ordered this
      Oct 17, 2018




                                          3
